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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

_________________________________________
                                          )
RENE JUNK, as Parent and Next             )
Best Friend of T.J., a Minor,             )
                                          )
                        Plaintiff,        )
                                          )
vs.                                       )                Case No. 4:05-cv-00608
                                          )
TERMINIX INTERNATIONAL COMPANY            )
LIMITED PARTNERSHIP,                      )
THE DOW CHEMICAL COMPANY,                 )
DOW AGROSCIENCES LLC,                     )
HAROLD OBRECHT, an individual,            )
JIM BRENEMAN, an individual, and          )
SURECO, INC.,                             )
                                          )
                        Defendants.       )
_________________________________________ )

 DEFENDANTS THE DOW CHEMICAL COMPANY’S AND DOW AGROSCIENCES
    LLC’S MOTION IN LIMINE TO PRECLUDE EVIDENCE OR ARGUMENT
  RELATING TO THE JUNE 2000 MEMORANDUM OF AGREEMENT WITH THE
               ENVIRONMENTAL PROTECTION AGENCY

       Defendants The Dow Chemical Company and Dow AgroSciences LLC (“Dow

AgroSciences”), pursuant to Fed. R. Evid. 104, submit this motion in limine to exclude evidence

of and arguments relating to the June 2000 Memorandum of Agreement (“MOA”) with the

United States Environmental Protection Agency (“EPA”). In support, and together with the

accompanying memorandum of law and attached exhibits, Dow AgroSciences states as follows:

       1.      Four years after the alleged 1992 exposures in this case, Congress enacted the

Food Quality Protection Act of 1996 (“FQPA”), which dramatically changed the manner in

which EPA was required to reevaluate for continued federal registration all pesticides sold and

used in the United States. EPA’s threatened implementation of the FQPA’s new regulatory
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standards compelled EPA, Dow AgroSciences, and other major United States manufacturers of
                                                                    1
chlorpyrifos-based products, such as Dow AgroSciences’ Dursban L.O., to either negotiate a

compromise agreement with respect to those products, or to litigate EPA’s threatened regulatory

action to the bitter end. That negotiation resulted in the June 2000 MOA.

         2.     Now, Plaintiff intends unfairly to use that compromise and settlement against

Dow AgroSciences. That effort, for the reasons that follow, must be rejected.

         3.     Plaintiff first showed that she2 would attempt to introduce evidence of the MOA

when she pleaded that, 8 years after the alleged exposures in this case, “[t]he United States

Government banned the use of Dursban in 2000 for use in homes.” Second Amended

Complaint, ¶ 19. [Document 91]. Since then, both of Plaintiff’s retained experts have testified

that they have based their medical causation opinions, at least in part, on the existence of the

MOA. There are several reasons why this proposed testimony, and all other evidence relating to

the MOA should be excluded.

         4.     First, black-letter Eighth Circuit law, in perfect harmony with a comprehensive

and consistent body of nationwide precedent, strictly forbids medical causation expert opinions

to rely in any way upon a governmental revocation of prior regulatory approval of a product.
                                                                           3
Glastetter v. Novartis Pharms. Corp., 252 F.3d 986, 991 (8th Cir. 2001).

1
    Dursban is a trademark of Dow AgroSciences LLC.
2
  For convenience, Dow AgroSciences uses the feminine personal pronoun and possessive forms
to denote “Rene Junk, as Parent and Next Best Friend of T.J., a Minor,” suing in her
representative capacity as such, without suggesting that Rene Junk has any personal claim or is a
plaintiff in her her personal or individual capacity.
3
  Dow AgroSciences will separately move to exclude the entirety of Plaintiff’s experts’ proposed
testimony pursuant to Fed. R. Evid. 702. But it is Dow AgroSciences’ purpose to collect in a
single motion and memorandum all the reasons why evidence relating to the MOA must be
excluded, regardless whom Plaintiff might call as its evidentiary sponsor. Thus, this precise
aspect of Plaintiffs’ experts’ proposed testimony is properly addressed and decided here and
now. On this point, Glastetter ends the debate before it begins.


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        5.      Beyond Glastetter, however, and as Dow AgroSciences explains in its

accompanying memorandum, there is a rich body of precedent holding that when a pesticide

registrant enters into an agreement with EPA to restrict or eliminate the uses of a pesticide, that

agreement and the circumstances leading up to it cannot thereafter be used as evidence against

the registrant or the users of that pesticide in subsequent civil litigation. E.g., Villari v. Terminix

Int’l, Inc., 692 F. Supp. 568, 573-76 (E.D. Pa. 1988); Rabb v. Orkin Exterminating Co., 677 F.

Supp. 424, 429 (D.S.C. 1987); Dine v. Western Exterminating Co., 1988 WL 28241, at *2-3

(D.D.C. Mar. 16, 1988).

        6.      As these cases and others like them hold, evidence related to the MOA should not

be admitted into evidence for several reasons that Glastetter did not address. First, under Fed. R.

Evid. 408, these matters culminated in a settlement agreement; as such, black-letter law requires

exclusion of any evidence or argument relating thereto. Second, the MOA, as Plaintiff would

construe it, constitutes a subsequent remedial measure, and therefore must be barred from

evidence by the operation of Fed. R. Evid. 407. Third, evidence of the MOA and the events

leading up to it fails all three of the tests of Fed. R. Evid. 403: 1) its potential for prejudice far

outweighs any probative value that evidence may have, 2) it carries a significant risk of

confusion of the jury, and 3) it would require undue expenditures of time at trial.

        7.      In further support, Dow AgroSciences attaches hereto as Exhibit 1 the Declaration

of Michael C. Shaw, Ph.D., and its attachments; Exhibit 2, the first page and page 7 of the

June 12, 2007 Rule 26(a)(2)(B) initial expert report of Plaintiff’s retained expert witness,

Mohamed B. Abou-Donia, Ph.D.; Exhibit 3, the cover page and page 150 of Dr. Abou-Donia’s

January 17, 2008 deposition; and Exhibit 4, the cover page and pages 130-31 of the January 23,

2008 deposition of Plaintiff’s other retained expert, Dr. Cynthia Bearer.




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       WHEREFORE, for these reasons, and as developed in detail in the accompanying

memorandum of law, Dow AgroSciences requests the Court to grant its motion in limine to

exclude references to the MOA and the events to which it relates. Accordingly, Dow

AgroSciences respectfully requests the Court for its Order instructing Plaintiff’s counsel, and

instructing the parties and their witnesses, to refrain from introducing or attempting to introduce

into evidence testimony or documentary evidence of such matters.

                                              Respectfully submitted,


                                              By: /s/ Dean T. Barnhard
                                              Joseph G. Eaton
                                              Dean T. Barnhard
                                              BARNES & THORNBURG LLP
                                              11 South Meridian Street
                                              Indianapolis, Indiana 46204
                                              Telephone: (317) 236-1313
                                              Facsimile: (317) 231-7323
                                              Email: joe.eaton@btlaw.com
                                              Email: dean.barnhard@btlaw.com

                                              Ross W. Johnson
                                              Jacob D. Bylund
                                              FAEGRE & BENSON LLP
                                              801 Grand Ave, Suite 3100
                                              Des Moines, IA 50309-8002
                                              Telephone: (515) 248-9000
                                              Facsimile: (515) 248-9010
                                              E-mail: RWJohnson@faegre.com




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                                        CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing document has been served

this 24th day of March, 2008, was filed electronically with the Clerk of Court to be served by

operation of the Court’s electronic filing system to the following counsel of record:

                                   C. M. Bye, Esquire
                                   Bye, Goff & Rohde, Ltd.
                                   258 Riverside Drive
                                   River Falls, Wisconsin 54022

                                   Donald G. Beattie, Esquire
                                   Beattie Law Firm, P.C.
                                   4300 Grand Avenue
                                   Des Moines Iowa 50312

                                   David R. Creagh, Esquire
                                   Hinshaw & Culbertson LLP
                                   222 North LaSalle Street, Suite 300
                                   Chicago, Illinois 60601-1081

                                   Kent A. Gummert, Esquire
                                   Frank A. Comito, Esquire
                                   Gaudineer, Comito & George, L.L.P.
                                   3737 Westown Parkway, Suite 2D
                                   West Des Moines, Iowa 50266



                                                            /s/ Dean T. Barnhard




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